
*223OPINION.
Teussell:
The taxpayer in this appeal has argued that the judgment of the Court of Common Pleas of Eichland County, Ohio, by which it was decreed that the taxpayer held 60 shares of preferred stock of the Mansfield Tire &amp; Eubber Co. as trustee for B. L. Chase, who was the true owner of such shares, and that the taxpayer must account for the value of such shares, together with dividends received thereon, should be disregarded, on the ground that said judgment was influenced by the acceptance of incompetent evidence and possible bias of the trial court. He has argued, further, that the reversal of a verdict of guilty in an indictment for perjury growing out of the above-mentioned civil action should be taken as proving his claim that the judgment in the civil action should be disregarded.
It appears, however, that the court which tried the civil action had before it all the persons and all the competent evidence that could be produced by both parties to the action, and that the determination of the trial court was affirmed upon appeal. We are of the opinion that the decree of the trial court must be taken as finally establishing the facts which were there in controversy, and that the determination of the Commissioner should be approved.
GREEN concurs in the result only.
